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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                         8:13CR214

        vs.
                                                                                 ORDER
JAMES BUCHHOLZ,

                           Defendant.


           This matter is before the court on the defendant's motion for a 30-day extension of time in which
to file pretrial motions [29]. Upon review of the file, the court finds that a 17-day extension should be
granted.


           IT IS ORDERED that the MOTION TO EXTEND THE DEADLINE TO FILE PRETRIAL
MOTIONS [29] is granted, in part, as follows:


           1.      The deadline for filing pretrial motions is extended to August 5, 2013.


           2.      In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice will
be served by granting this motion and outweigh the interests of the public and the defendant in a speedy
trial. Any additional time arising as a result of the granting of this motion, that is, the time between July
19, 2013 and August 5, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason that counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel and the novelty and complexity of this
case.   The failure to grant additional time might result in a miscarriage of justice.          18 U.S.C. §
3161(h)(8)(A) & (B)(iv).




           Dated this 19th day of July, 2013.

                                                            BY THE COURT:

                                                            s/ F.A. Gossett, III
                                                            United States Magistrate Judge
